       Case 1:15-cr-00233-DAD Document 146 Filed 03/27/17 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    No. 1:15-cr-00233-DAD-BAM-4
12                    Plaintiff,
13         v.                                     ORDER OF RELEASE
14   LIOBIGILDO VARGAS,
15                    Defendant.
16

17         The above named defendant having been sentenced on March 27, 2017 to 15 months

18   (TIME SERVED),

19         IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20   judgment and commitment order will follow.
21   IT IS SO ORDERED.
22
        Dated:    March 27, 2017
23                                                    UNITED STATES DISTRICT JUDGE
24

25

26
27

28
                                                  1
